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   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
12

13 UNITED STATES OF AMERICA,                         ) No. 4:14-cr-94 YGR
                                                     )
14           Plaintiff,                              ) STIPULATION AND [PROPOSED] ORDER RE:
                                                     ) BRIEFING SCHEDULE
15      v.                                           )
                                                     )
16 CLARENCE LEE ANDREWS,                             )
                                                     )
17           Defendant.                              )
                                                     )
18                                                   )
                                                     )
19

20           The United States and defendant Clarence Lee Andrews, by and through undersigned counsel,
21 hereby respectfully request that that the Court order that the United States’ response to the defendant’s

22 motion for compassionate release (Dkt. 81) be filed by January 29, 2021.

23                                                       Respectfully submitted,
24 DATED: January 21, 2021                               DAVID L. ANDERSON
                                                         United States Attorney
25

26                                                              /s/
                                                         SARAH E. GRISWOLD
27                                                       Assistant United States Attorney
28
     STIP. & [PROP’D] ORDER RE: BRIEFING SCHED.      1
     4:14-cr-94 YGR
 1 DATED: January 21, 2021

 2                                                            /s/
                                                        ASHLEY RISER
 3
                                                        Counsel for Defendant Clarence Lee Andrews
 4

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 6

 7                                          [PROPOSED] ORDER
 8          Based upon the representation of counsel and for good cause shown, IT IS HEREBY ORDERED
 9 that the United States’ response to defendant’s motion for compassionate release shall be filed by
10 January 29, 2021.

11          IT SO ORDERED this _____ day of January 2021.
12

13                                                                                    __
                                                        THE HON. YVONNE GONZALEZ ROGERS
14                                                      UNITED STATES DISTRICT JUDGE
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     STIP. & [PROP’D] ORDER RE: BRIEFING SCHED.     2
     4:14-cr-94 YGR
